   

ere vail Pore” +O \lo UJ IAG AS
C0 re

 

 

 
   

 

 

 

   
  
   
  
   

| 1 A OL
Louw ol

l. Muy name |S Nicq0na Suto. | OM

OVE— (Be iA OGKR - TAM Oe TSN ON

of Mdaoo Comtu , FA elie

velo cong tomorow 10 County
ao ee

La OVI AO - nes
ac 20, Zod | was lea
Lowel Conn gtisnell wc paune Cane

 

 

 

 

 

 

  
  

 

 

 

 

 

 

 

 

=f C

 
      

 

21) tm

   

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
JL tmOmer amat stateal, "Dia ur

| ear ee ee ers aT Ot
__ Ho 100 te UO + Uhnen | looks
ee EE Saw yan Vepnat ae ie cp

an = er oe Pimse Sat
ares mgt Krelerng On Cae AQ _ yn |e plant

2S een dei ee

= we Tumer Mrew) Chena er.
A. Onoo Une va AMI ae

= ti an_)\ SNe
= dle oe Tomer catld Tee

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

One Holde,, _ it. Tome Kiiceec
NN CA ssl Ne ee YW—_ ADp MORIA, abel 4

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     
  
    

 

 

oF tb
iid il 1D look oft Ae uandalou)
ee Law a Ven Oe OA.) sie

Sallie mndeal, + ee ate StLan Wo”)
— LSS I eepe NO tL ae tT lAv® \W hed

I +o Ms. Wapode” That yas 9 Loo
lig a Ot she vavld nov help a

Or Wa. Hs. INDOAS [A cAr a

iS —te_ oA Ctr ASE the denn.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
   
  
   
  
   
  
     
   
  
  

  

 

 
 
    

Yi ae eyNe Yt anv. RM POUNOI

Ce VIS ~ GNAUa evn oo C0 =

DVN
oe 3h LARS a NAP ON COU A OW

__ [Wnt An ey Viera \ +o - |
2 JiNwese eran Se a
(572) speach _|

 
  

  

 

 

 

 

 

 

 

 

 
      

 

 

(ty

os
.
}

|

 

   

 

___|SAateol, “thot 6.1 was alveaoy
du eal lea 4 They set OAs alolea f

— t+ was Com wi knowl odep «a

wap thot COR a a
o

  

a =

 

 

       

  
  

i
- |
iJ
A

 

 

 

 

 

  

 

eH LA \OA
o-~ WO
DOO TO
ORO * Nedst

AQY| LN

Ode, °

  
  

:

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ee ee ———— ee — _ —— -
—— AA iia

iHe sargd FOLE vaAvin

1 Ole TO

Ses. Tey \\Cntv
O-(Mev— Me VATA 4 oe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Sen do arr gdlesen bed nets

4S a See ge

rine, el “core
- nee == 2 = be oe a a =o r

 

   

 

 

 

 

 
